Case 4:18-cr-00012-MFU-RSB Document 545 Filed 02/10/20 Page 1of1 Pageid#: 3045

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IN THE UNITED STATES DISTRICT courts pie CN, wo. of
FOR THE WESTERN DISTRICT OF VIRGINIA
ROANOKE DIVISION

   
 

UNITED STATES OF AMERICA
V. Criminal Action No. 4:18CR00012-004

MONTEZ LAMAR ALLEN

In the presence of Neil Horn and Seth Weston, my counsel, who has fully
explained the charges contained in the indictment against me, and having received a
copy of the indictment from the United States Attorney before being called upon to plead,
| hereby plead guilty to said indictment and count(s) one thereof. | have been advised of
the maximum punishment which may be imposed by the court for this offense. My plea of
guilty is made Knowingly and voluntarily and without threat of any kind or without promises

other than those disclosed here in open court.

MefOX

Signature of Defendant

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Witness (7 Sct, Bilin.
